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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                             SAN ANGELO DryISION

UNITED STATES OF AMERICA,
  Plaintifl

                                                           NO. 6:20-CR-032-01-H

ANTHONYPAUL DIAZ (1),
   Defendant.


            ORDER ACCEPTING REPORT AND RECOMMENDATION
               OF THE IINTIED STATES MAGISTRATE JIJDGE
                     CONCERNING PLEA OF GTJILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$ 636(bX1), the undersigned   District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order.

       SO ORDERT,D.
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                           /
       DatedNovember      l?   ,2020



                                            JAME     SLEYHENDRIX
                                            UN   D STATES DISTRICT JUDGE
